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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )
                              )
            v.                )              Criminal No. 08-231 (EGS)
                              )
THEODORE F. STEVENS,          )
                              )
            Defendant.        )
______________________________)

                  GOVERNMENT'S OPPOSITION TO DEFENDANT'S
                MOTION TO DISMISS INDICTMENT OR FOR A MISTRIAL

        The United States of America, by and through its undersigned counsel, submits the

following opposition to defendant Theodore F. Stevens' motion to dismiss the indictment or for a

mistrial.

                                       INTRODUCTION

        True to form, defense counsel continues with their "win at all cost" tactics. See United

States v. Forbes, No. 3:02 CR 00262 (AWT), 2006 WL 680562 at *2 (D. Conn. Mar. 16, 2006).

This time, defendant has gone too far, accusing the government of Brady violations and of

proffering misleading evidence at trial. Nothing could be further from the truth and, for the

reasons set forth below, defendant's motion should be denied in its entirety.

                                  FACTUAL BACKGROUND

        As the Court knows, the government listed Robert "Rocky" Williams as a potential trial

witness during the government's case-in-chief. The government brought Mr. Williams from

Alaska to Washington, D.C. for purposes of trial preparation. See Exhibit 1 (Affidavit of Special

Agent Chad Joy). At the time when Mr. Williams was subpoenaed, the government anticipated

that he would be one of the first witnesses in the government's case-in-chief. However, when

Mr. Williams arrived in Washington, D.C. and met with government counsel to prepare for his
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testimony, it was apparent to counsel that Mr. Williams had serious, health-related issues that

warranted medical attention. Between the time that he had testified in the grand jury on

November 7, 2006, and the present, Mr. Williams had become almost unrecognizable. Mr.

Williams had lost a substantial amount of weight, his abdomen was distended (and had been

previously drained of excess fluid), he appeared jaundiced, his face was gaunt, he had

substantially aged, he had chronic coughing spells, and he was frequently short of breath. Ex. 1.

In addition, Mr. Williams told the government he lacked energy and was unable to walk far

enough to do any sightseeing as he originally hoped. Id.

       The government attempted to prepare Mr. Williams for his testimony. It became

apparent, however, that Mr. Williams needed to attend to his medical issues. Mr. Williams

advised us that he was under the care of physicians in Alaska, and he further advised us that his

doctors were calling him because he had missed scheduled, follow-up appointments for blood

work and other tests. The government informed Mr. Williams that he should return to Alaska to

attend to his health and to meet with his doctors. We informed Mr. Williams that we would be in

contact with him to see if he would be able to testify or not. Id.

       The government also told Mr. Williams that, because he was under subpoena with

defense counsel, he should contact defense counsel and inform them that he was returning to

Alaska. Mr. Williams contacted defense counsel before he left Washington, D.C. and so advised

them. See Def. Motion at 5 n.3 (conceding that Mr. Williams had advised defense counsel that

he had a telephone message with counsel "while he was in [Washington,] D.C." and further

conceding that Mr. Williams left a second message on Friday, September 26, 2008). Moreover,

prior to leaving Washington, D.C., Mr. Williams informed the government on September 24,


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2008, that he had contacted defense counsel by telephone and left a message for them that

included his cellular telephone number and the hotel where he was staying. According to Mr.

Williams, defense counsel did not return his call. Ex. 1.

       Mr. Williams also informed the government on September 26, 2008, that he had low

energy, he felt somewhat better after he had arrived back in Alaska. Mr. Williams also told the

government that he understood the government's concern about his health-related issues. Id.

       On September 28, 2008, the government contacted Mr. Williams by telephone. Mr.

Williams told the government that a physician who is a specialist wanted to conduct a follow-up

appointment with him to run another series of tests. Mr. Williams advised the government that,

although he did not feel bad, he had shortness of breath, needed to gain at least 10 pounds, and

that he might need to get intravenous fluids and vitamin B shots if necessary. He further stated

that he felt, "90 years old instead of 58." Mr. Williams had a pervasive cough throughout this

conversation. The government asked Mr. Williams if it was possible for him to come back to

Washington, D.C. to testify after he met with his physicians. Mr. Williams did not respond to

this question, but did refer to additional tests that needed to be done and that he needed to take

care of these appointments.

                                             *   *     *

       Late yesterday afternoon, defense counsel demanded by electronic mail that we

immediately turn over Mr. Williams' grand jury testimony and any formal reports of interviews

of Mr. Williams so that defendant could file an emergency motion for relief. See Exhibit 2. The

government contacted defense counsel, who refused to disclose the basis for defendant's motion

or why it was imperative that they immediately receive Mr. Williams' testimony and the Form


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302s. Notwithstanding defendant's utter lack of good faith negotiation over this issue, we

provided defense counsel with a copy of Mr. Williams' grand jury testimony:

               [W]e are still confused as to what your concerns are, but we would
               very much appreciate an opportunity to discuss them to see if they
               can be resolved. To that extent and in the spirit of cooperation, we
               are willing to provide you with a transcript of Mr. Williams' grand
               jury testimony for your review. Please call one of us at your
               earliest convenience to discuss.

Id.

       As the Court also knows, the government has made confidential, Brady-related

disclosures concerning Mr. Williams. Those disclosures are contained in, among other things,

the government's letter to defense counsel dated August 25, 2008, and September 9, 2008, and

are incorporated by reference herein. The government, moreover, provided defense counsel with

the entire grand jury transcripts of Augie Paone and Robert Persons and, now, Rocky Williams.

In addition to all of this material – including all of the documents produced to defendant – we

have provided grand jury testimony of other witnesses pursuant to our obligations under the

Jencks Act, 18 U.S.C. § 3500. The government, of course, stands willing and able to provide all

of this information to the Court for in camera review.

       Prior to trial commencing this morning, the Court advised us to submit an affidavit from

Chief William Welch and an affiant familiar with Mr. Williams' health-related issues. Those

affidavits are attached hereto as Exhibits 1 and 3.




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                                          ARGUMENT

I.     THERE HAS BEEN NO VIOLATION OF BRADY

       Defendant's motion is the proverbial "Hail Mary." Rather than focusing on the merits of

the government's evidence or the flaws in defendant's response to this evidence, defendant

resorts instead to leveling baseless accusations against the government. The faulty premise

woven throughout defendant's motion is the idea that the government deliberately suppressed

exculpatory evidence that should have been produced pursuant to Brady v. Maryland, 373 U.S.

83 (1963), United States v. Giglio, 405 U.S. 150 (1972), and their progeny.

       Defendant erroneously suggests that the government withheld exculpatory information

concerning Mr. Williams' involvement in the renovations on defendant's house. In fact, the

opposite is true. As a result of the government's substantial discovery in this case, including its

Brady-related disclosures, defendant has been give access to material above and beyond the

government's obligations. In any event, the material produced by the government to defendant

fully refutes defendant's unfounded allegations, which we address in turn.

       A.      Mr. Williams' Time at Girdwood

       Defendant contends that Mr. Williams never worked a single full day at the chalet. This

statement is contrary to Mr. Williams past statements to the government. In Mr. Williams' grand

jury testimony, he stated that he "was usually out there at least three times a week if not more."

Grand Jury Testimony, p. 30. Mr. Williams also stated:

       Q:      About how many hours a week would you say on average you spent out
               on this site?

       A:      On, a good 24, maybe even – sometimes more and sometimes – I would
               say never less than 24 hours a week. I'd have to make at least two trips
               out for materials and stuff, and a lot of times I was probably out there – at
               the first part of this, the framing and the stairs and everything going in, I
               was probably out there every day.
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Id. Later in Mr. Williams' grand jury testimony, when discussing VECO electricians who were

sent to the project, he stated:

        Q:      Well, now you were there during most of this time, is . . . .

        A:      I was there . . .

        Q:      . . . that correct?

        A:      . . . most of the time. I don't remember . . .

        Q:      Okay.

        A:      . . . exactly who did what.

Grand Jury Testimony, at 41.

        Furthermore, Mr. Williams, during a recent interview, estimated to the government that

he spent approximately 2,000 hours working on defendant's Girdwood residence. He also

previously estimated he worked approximately 15-30 hours a week at the Girdwood residence

for approximately 10 weeks. Mr. Williams has not advised the government that he "never

worked a single full day on the Girdwood home" as stated in defendant's motion.

        Moreover, as part of its Brady-related disclosures, the government informed defense

counsel that Bill Allen thought the internal billing costs for VECO may have been too high.

Importantly, as noted in opening arguments, the issue is not whether the work was worth more

than $188,000 or less. The key issue is whether it was worth more than the threshold amounts

triggering disclosure on defendant's financial disclosure forms.

        B.      Scope Of Mr. Williams' Work

        Defendant asserts that Mr. Williams worked on other projects using his cellular phone

while at Girdwood. Mr. Williams did not offer this information in his grand jury testimony and


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has not advised the government that he spent any significant time directing other projects from

Girdwood for Allen via his cellular telephone.

       Moreover, defendant is aware of various statements from Robert Persons which make

clear that Mr. Williams' worked at the site. Specifically, defendant produced to the government

an e-mail from Persons to defendant dated 8/23/2000 wherein Persons stated in relevant part: "[I]

kind of torment [R]ocky to keep him concentrating on the chalet rather than all the other projects

[B]ill keeps him working on. [T]he skies are clear in [G]irdwood and we are still running behind

on the chalet, [I] don't want to waste this good construction weather." GX 1033 (also marked as

DX 0396).

       Defendant also produced to the government an e-mail from Bob Persons dated 9/10/2000

wherein Persons stated in relevant part: "[I] can't emphasize enough how much and how well

[R]ocky does, [B]ill has a true gem there the guy works 7 days a week on [B]ill's projects." GX

1017 (also marked as "DX 0436").

       Defendant also produced an e-mail dated January 13, 2001 at 3:02 p.m. wherein Persons

stated to defendant:

               "[D]ear [S]enator, [I] have just returned form the house and it looks
               good. [A]ll of the interior walls were finished yesterday and [S]teve
               finished the shower on the first floor. [T]he electrician and [D]ave
               [A]nderson's son were the only workers this morning but everyone
               will be back on the job [M]onday morning. [I] spoke to [R]ocky by
               phone and he iis [sic] trying to round up special paint and a new
               wood stove insert that cas wants. [T]he biggest holdup is materials
               for specialized portions of the construction. [W]e have $30,000 in
               bills that [R]ocky is trying to get [B]ill to look at and o.k.. [T]here is
               some concern on [R]ocky's part that we have already paid some of
               the plumbing bill. [I]t looks to me as if all that is needed is some
               varnish, underlayment and flooring and trim out but [R]ocky believes
               it will take until the end of [F]ebruary, [I] don't know what to say, it
               just does not look like that much work. [I] was only able to keep

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               [P]at [J]efferson up here for one week and [I] think we need some
               more skilled help. [I]'ll call [B]ill [A]llen and see if we can spur this
               thing up a bit. [L]et me know of any concerns you have and [I] will
               see to them post hast. [M]y best, bob.

GX 444.

       Finally, defendant also produced an e-mail dated January 13, 2001 at 11:08 p.m. wherein

Persons stated in relevant part:

               [I] called [B]ill [A]llen to try to speed the operation up and we
               have played phone tag today, hopefully [I] will get him tomorrow.
               [I]f you don't need the chalet until [M]arch it may be best to let
               [R]ocky take his time. [I] am amazed by his attention to detail, he
               is repainting your old ceiling because you can see the joints.
               [W]here the tongues and grooves come together. [L]ooked fine to
               me but [I] know cas will love it when it is finished.

GX 1034 (also marked as DX 0330).

       C.      VECO's Involvement With Project

       Defendant contends that Mr. Williams advised Allen that VECO should be involved as

little as possible in the renovation of defendant's Girdwood residence. Mr. Williams, however,

advised the government on numerous occasions that VECO was heavily involved and he so told

the Grand Jury. The e-mail traffic produced by defendant noted above also demonstrates that

VECO was heavily involved with the project.

       The government also previously advised defendant in a Brady disclosure letter that Mr.

Williams stated in an interview with law enforcement agents that 99 percent of the work at

defendant's Girdwood residence was performed by Christensen employees and that in a

subsequent interview Mr. Williams did not recall making that statement. In the same letter, the

government also advised defendant that Allen believes Mr. Williams has a drinking problem.

The government also advised defendant in a previous Brady disclosure letter that "[t]he

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government is also aware of rumors concerning excessive alcohol use by Mr. Williams and it is

possible that Mr. Williams may have an alcohol dependency issue." In that same letter the

government advised defendant of Mr. Williams' criminal history that includes convictions for

manslaughter, failure to assist/render aid, and DWI

       D.      Raising The Girdwood Residence

       Defendant contends that Mr. Williams' statement that raising the chalet beyond what was

necessary for a daylight basement was not substantially more expensive. Mr. Williams,

however, also testified in his grand jury testimony that expanding the scope of the project made

the project more complicated, stating:

       Q:      Okay. Did there come a point in time in which some renovation work
               started on the house in Girdwood, Senator Stevens' house?

       A:      Yes, it did. I think at that time we had already determined that the project
               had grown from just putting 28 feet of wall up and four-foot high to what
               was – ended up being a fairly major project. So – I'm sorry, I . . .

Grand Jury Testimony, p. 12. Mr. Williams went on to state that cost to jack the house up from

4 to 8 feet was not substantially more expensive, but then stated that enlarging the size meant the

project was "wasn't something that was just going to be a fairly simply [sic] job" and at that point

suggested getting a contractor involved. Id., p. 13.

       E.      The $2,000 Check

       Defendant is already in possession of a cancelled check from Catherine Stevens to Rocky

Mr. Williams noting on the memo line that the check was for items from defendant. Mr.

Williams testified in the grand jury about his transaction as follows:

       Q:      And did you think this was a fair price for the stuff that you bought?

       A:      I thought it was a little more than fair.

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       Q:      And by that, sir, just if you can clarify?

       A:      Well, the one nice heater was probably worth $800. The electric heater
               wasn't worth much. And the cabinets. I probably wouldn't have given
               $1500 for the whole shebang.

Grand Jury Testimony, p. 54. Through discovery, defendant has been aware of this transaction

for quite some time.

       F.      Defendant's Interest In The Renovation

       Defendant is well aware of his own sentiments. Defendant's sentiments as to his

motivation for the renovation do not impact whether he was aware of the value of work and

materials that he did not pay for or otherwise account for on his financial disclosure forms.

II.    DEFENDANT IS NOT ENTITLED TO A DISMISSAL OR A NEW TRIAL

       Defendant's motion fails to establish that any Brady violation has occurred. To find a

Brady violation, the Court must determine that (1) the evidence was suppressed by the

government; (2) the suppressed evidence was favorable to the accused; and (3) prejudice must

have occurred. In re Sealed Case No. 99-3096 (Brady Obligations), 185 F.3d 887, 892 (D.C.

Cir. 1999). In order for prejudice to have occurred, the suppressed evidence must be material to

the defense. See Kyles v. Whitley, 514 U.S. 419, 432-38 (1995). Materiality is established only

if there is a reasonable probability that the evidence would have changed the outcome of the

proceeding. In re Sealed Case, 185 F.3d at 892.

       The Supreme Court has emphasized that a defense claim that the government failed to

produce information that is cumulative, irrelevant, or merely "useful" to the defense is

insufficient to establish a Brady violation. E.g., United States v. Ruiz, 536 U. S. 622, 630 (2002)

("But the Constitution does not require the prosecutor to share all useful information with the

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defendant."); Weatherford v. Bursey, 429 U.S. 545, 559 (1997) ("It does not follow from the

prohibition against concealing evidence favorable to the accused that the prosecution must reveal

before trial the names of all witnesses who will testify unfavorably."). In addition, the

government is not required to provide information that already is known to the defendant and its

failure to do so cannot be deemed prejudicial. See United States v. DiGiovanni, 544 F.2d 642,

645 (2d Cir. 1976) ("The government is not required to make a witness' statement known to a

defendant who is on notice of the essential facts which would enable him to call the witness and

thus take advantage of any exculpatory testimony he might furnish.") (internal citation omitted);

United States v. Prior, 546 F.2d 1254, 1259 (5th Cir.1977) ("numerous cases have ruled that the

government is not obliged under Brady to furnish a defendant with information which he already

has or, with any reasonable diligence, he can obtain himself.") (citations omitted).

       As the Court explained at length in United States v. Agurs, 427 U.S. 97 (1975):

               The Court of Appeals erred in assuming "that the prosecutor has a
               constitutional obligation to disclose any information that might
               affect the jury's verdict. . . . If everything that might influence a
               jury must be disclosed, the only way a prosecutor could discharge
               his constitutional duty would be to allow complete discovery of his
               files as a matter of routine practice . . . . Whether or not procedural
               rules authorizing such broad discovery might be desirable, the
               Constitution surely does not demand that much . . . . The mere
               possibility that an item of undisclosed information might have
               helped the defense, or might have affected the outcome of the trial,
               does not establish 'materiality' in the constitutional sense.

Id. at 108-10; see also Moore v. Illinois, 408 U.S. 786, 795 (1972) ("We know of no

constitutional requirement that the prosecution make a complete and detailed accounting to the

defense of all police investigatory work on a case"); Zeigler v. Callahan, 659 F.2d 254, 266 (1st




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Cir. 1981) (cumulative evidence not material where defense had opportunity to impeach witness

by other means).

       For the reasons detailed in the factual statement, above, the information defendant frames

as the basis for a claim Brady violation was not suppressed, is not favorable to the accused, and

is certainly not material. Accordingly, defendant's motion should be denied. Further, the proper

remedy for a claimed Brady violation at this stage of the proceedings would not be dismissal of

the indictment or the declaration of a mistrial.




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                                         CONCLUSION

       For the foregoing reasons, the government respectfully requests that defendant's motion

to dismiss the indictment or for a mistrial be denied.

                                              Respectfully submitted,

                                              WILLIAM M. WELCH II
                                              Chief, Public Integrity Section

                                              /s/
                                              BRENDA K. MORRIS
                                              Principal Deputy Chief

                                              NICHOLAS A. MARSH
                                              EDWARD P. SULLIVAN
                                              Trial Attorneys

                                              JOSEPH W. BOTTINI
                                              JAMES A. GOEKE
                                              Assistant United States Attorneys
                                              for the District of Alaska

                                              Criminal Division, Public Integrity Section
                                              U.S. Department of Justice
                                              1400 New York Ave. NW, 12th Floor
                                              Washington, D.C. 20530
                                              Tel: 202-514-1412
                                              Fax: 202-514-3003




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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of September, 2008, I caused a copy of the

foregoing "GOVERNMENT'S OPPOSITION TO DEFENDANT'S MOTION TO DISMISS OR

FOR A NEW TRIAL" to be delivered electronically to the following:

                                Brendan V. Sullivan, Jr., Esq.
                                    Robert M. Cary, Esq.
                                 Williams & Connolly LLP
                                  725 Twelfth Street, N.W.
                                  Washington, D.C. 20005

                                                           /s/
                                                    Edward P. Sullivan




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